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September 6, 2023


VIA ECF FILING ONLY
Honorable Lynn Adelman
United States District Court
Eastern District of Wisconsin
517 E. Wisconsin Avenue
Milwaukee, WI 53202


       Re:    Estate of Antonio Gonzales v. Joseph Mensah et al.
              E.D. Wisconsin Case # 21-CV-00848


Dear Judge Adelman,

        This letter is a follow-up to Plaintiff’s motion for extension of time to allow
Plaintiffs to file a response to Defendants’ motion for summary judgment. Dkt. #99.

        Having reviewed the case and current state of the law, Plaintiffs believe that
we could make valid arguments in opposition to the Motion for Summary
Judgment. However, under the current state of the law in the Seventh Circuit,
Plaintiffs do not believe that those arguments would cause the Court to deny the
motion for Summary Judgment for the Gonzales matter 21-CV-00848. Plaintiffs do
not want to waste the Court’s valuable time, so we will not file a response, and
instead, concentrate our efforts on the Anderson and Cole cases.

                                           Warm regards,

                                           MOTLEY LEGAL SERVICES

                                           s:/Kimberley Cy. Motley, Esq.
                                           Attorney for Plaintiffs
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cc:    All Counsel of Record (via ECF)


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